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                   8                        UNITED STATES DISTRICT COURT
                   9                      CENTRAL DISTRICT OF CALIFORNIA
                  10                                EASTERN DIVISION
                  11 CARTER BRYANT, an individual,        CASE NO. CV 04-9049 SGL (RNBx)
                  12                                      Consolidated with
                                       Plaintiff,         Case No. CV 04-09059
                  13        vs.                           Case No. CV 05-2727
                  14                                      DISCOVERY MATTER
                     MATTEL, INC., a Delaware
                  15 corporation,                         [To be Heard by Discovery Master Hon.
                                                          Edward Infante (Ret.) Pursuant to Court
                  16                                      Order of December 6, 2006]
                                       Defendant.
                  17                                      [PUBLIC REDACTED] DECLARATION
                                                          OF JON D. COREY IN SUPPORT OF
                  18 AND CONSOLIDATED ACTIONS             MATTEL, INC.'S OPPOSITION TO
                                                          JOINT MOTION TO COMPEL AN
                  19                                      UNREDACTED VERSION OF
                                                          M0074400, MATTEL'S INVESTIGATIVE
                  20                                      FILE 02-299 AND THE FURTHER
                                                          DEPOSITION TESTIMONY OF
                  21                                      RICHARD DE ANDA
                  22                                      Date: February 8, 2008
                                                          Time: 9:30 a.m.
                  23                                      Place: Telephonic
                  24                                      Phase 1
                                                          Discovery Cut-Off:    Jan. 28, 2008
                  25                                      Pre-Trial Conference: May 5, 2008
                                                          Trial Date:           May 27, 2008
                  26
                  27
                  28
07209/2352127.1
                                                                                   COREY DECLARATION
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